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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

 CLEAR WITH COMPUTERS, LLC,                    §
                                               §
         Plaintiff,                            §
                                               §
 vs.                                           §       CASE NO. 6:12-CV-622
                                               §       LEAD CASE
 AGCO CORPORATION,                             §
                                               §
         Defendant.                            §


                                               §
 CLEAR WITH COMPUTERS, LLC,                    §
                                               §
         Plaintiff,                            §
                                               §       CASE NO. 6:13-CV-161
 vs.                                           §       LEAD CASE
                                               §
 FISHING HOLDINGS, LLC dba                     §
 RANGER BOATS,                                 §
                                               §
         Defendant.                            §

                                        FINAL JUDGMENT

       By prior Orders, all claims against all Defendants in the above-captioned suits have been

dismissed. Accordingly, the Court hereby enters Final Judgment.

       It is therefore ORDERED, ADJUDGED and DECREED that the parties take nothing

and that all pending motions are DENIED AS MOOT. Except as otherwise provided by

previous Court Order, all costs are to be borne by the party that incurred them. The Clerk of the

Court is directed to close this case.
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         So ORDERED and SIGNED this 4th day of August, 2014.




                           __________________________________
                           LEONARD DAVIS
                           UNITED STATES DISTRICT JUDGE




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